

Matter of Jackson (2018 NY Slip Op 08654)





Matter of Jackson


2018 NY Slip Op 08654


Decided on December 19, 2018


Appellate Division, Second Department


Per Curiam.



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 19, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

ALAN D. SCHEINKMAN, P.J.
WILLIAM F. MASTRO
REINALDO E. RIVERA
MARK C. DILLON
RUTH C. BALKIN, JJ.


2018-09825

[*1]In the Matter of Samuel D. Jackson, admitted as Samuel Dean Jackson, an attorney and counselor- at-law. Grievance Committee for the Ninth Judicial District, petitioner; Samuel D. Jackson, respondent. (Attorney Registration No. 5355110)



MOTION by the Grievance Committee for the Ninth Judicial District to strike the respondent's name from the roll of attorneys and counselors-at-law, pursuant to Judiciary Law § 90(4)(b), based upon his conviction of a felony. The respondent was admitted to the Bar at a term of the Appellate Division of the Supreme Court in the First Judicial Department on May 11, 2015, under the name Samuel Dean Jackson.



Gary L. Casella, White Plains, NY (Forrest Strauss of counsel), for petitioner.



PER CURIAM.


OPINION &amp; ORDER
On July 20, 2018, the respondent pleaded guilty before the Honorable Robert A. McDonald, Justice of the Supreme Court, Nassau County, to two counts of unlawful surveillance in the second degree, in violation of Penal Law § 250.45(4), a class E felony.
The Grievance Committee for the Ninth Judicial District now moves to strike the respondent's name from the roll of attorneys and counselors-at-law pursuant to Judiciary Law § 90(4)(b) based upon his felony conviction. Although the respondent was duly served, he has neither opposed the motion nor interposed any response thereto.
Pursuant to Judiciary Law § 90(4)(a), the respondent was automatically disbarred and ceased to be an attorney upon his conviction of a felony.
Accordingly, the motion to strike the respondent's name from the roll of attorneys and counselors-at-law, pursuant to Judiciary Law § 90(4)(b), is granted to reflect the respondent's automatic disbarment as of July 20, 2018.
SCHEINKMAN, P.J., MASTRO, RIVERA, DILLON and BALKIN, JJ., concur.
ORDERED that the motion is granted; and it is further,
ORDERED that pursuant to Judiciary Law § 90(4)(a), the respondent, Samuel D. Jackson, admitted as Samuel Dean Jackson, is disbarred, effective July 20, 2018, and his name is stricken from the roll of attorneys and counselors-at-law, pursuant to Judiciary Law § 90(4)(b); and it is further,
ORDERED that the respondent, Samuel D. Jackson, admitted as Samuel Dean Jackson, shall comply with the rules governing the conduct of disbarred or suspended attorneys (see  [*2]22 NYCRR 1240.15); and it is further,
ORDERED that pursuant to Judiciary Law § 90, the respondent, Samuel D. Jackson, admitted as Samuel Dean Jackson, is commanded to desist and refrain from (1) practicing law in any form, either as principal or as agent, clerk, or employee of another, (2) appearing as an attorney or counselor-at-law before any court, Judge, Justice, board, commission, or other public authority, (3) giving to another an opinion as to the law or its application or any advice in relation thereto, and (4) holding himself out in any way as an attorney and counselor-at-law; and it is further,
ORDERED that if the respondent, Samuel D. Jackson, admitted as Samuel Dean Jackson, has been issued a secure pass by the Office of Court Administration, it shall be returned forthwith to the issuing agency, and the respondent shall certify to the same in his affidavit of compliance pursuant to 22 NYCRR 1240.15(f).
ENTER:
Aprilanne Agostino
Clerk of the Court








